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                               UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

CBIZ, INC., et al.,                           )   CASE NO. 1:24-cv-01027
                                              )
           Plaintiffs,                        )   JUDGE J. PHILIP CALABRESE
                                              )
           v.                                 )   MAGISTRATE JUDGE JONATHAN D.
                                              )   GREENBERG
GREGORY J. CRYAN, et al.,                     )
                                              )   PLAINTIFFS’ MEMORANDUM IN
           Defendants.                        )   SUPPORT OF MOTION TO WITHDRAW
                                              )   DECLARATIONS OF MARK LANTERMAN

           Mark Lanterman and his Company, Computer Forensic Services, were originally retained

by CBIZ in April 2024 to examine William Haynes’ laptop. Once litigation was commenced,

Computer Forensics Services reviewed Steven Fischer’s laptop and USB drive. Mr. Lanterman

provided two declarations summarizing his findings: ECF No. 18-1 and ECF No. 86-60.

           On Sunday, March 9, 2025, an attorney named Sean Harrington emailed counsel for

Plaintiffs and Defendants alleging that Mark Lanterman had misrepresented his credentials in

declarations to this Court and other courts. (Harrington’s email and supporting documents are

attached as Exhibit 1.). In particular, Harrington alleged that Lanterman had not graduated from

Upsala College1 with degrees in computer science despite Lanterman’s extensive experience as an

expert nationally and his work with law enforcement and the Secret Service. (Lanterman’s CV is

attached as Exhibit 2.).

           Counsel for Plaintiffs immediately began investigating these allegations. In that regard,

counsel called Lanterman on Monday, March 10. During that call, Lanterman denied Harrington’s

allegations and assured counsel that he had graduated from Upsala College with an undergraduate




1
    Upsala College closed in 1995.
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degree and a graduate degree in computer science. Plaintiffs’ counsel then engaged a private

investigation firm to investigate Harrington’s allegations.

       Plaintiffs’ counsel received a second email from Harrington on March 15, 2025 which

contained similar allegations. (Exhibit 3). The private investigation firm retained by Plaintiffs’

counsel was ultimately unable to verify that Lanterman attended Upsala College. The firm

attempted to obtain transcripts from the now closed Upsala College but was unsuccessful. The

firm also viewed yearbooks and graduation programs from Upsala College but was unable to locate

any record of Lanterman. The firm also reported that Lanterman is being investigated by the FBI,

which various media sources have also recently reported. See, e.g., https://www.msn.com/en-

us/news/us/fbi-investigating-minnesota-cybersecurity-expert-over-concerns-about-his-

background-hennepin-co-atty-says/ar-AA1BSxnB?ocid=BingNewsSerp;             https://kstp.com/kstp-

news/top-news/twin-cities-computer-forensics-expert-now-under-fbi-investigation/.      Lanterman

has now taken a leave from his position at Computer Forensic Services.

       In light of these developments, Plaintiffs no longer intend to rely on Lanterman’s prior

testimony and move to withdraw the declarations of Mark Lanterman, ECF No. 18-1 and ECF No.

86-60. The withdrawal of these declarations does not affect Plaintiffs’ case. Lanterman’s first

declaration, ECF No. 18-1, solely concerns Defendant Haynes. Lanterman stated that:

              Haynes uploaded approximately 33,887 files and folders from his CBIZ-issued

               laptop and CBIZ’s file server to his Dropbox account on April 16, 2024. (ECF No.

               18-1, PageID# 626-628, ¶¶ 22-33.)

              Haynes emailed login passwords to a personal email account on the same day. (Id.,

               PageID# 629, ¶ 37.)

Haynes admitted to uploading files to his DropBox account under oath at the TRO hearing:




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                So I created the Dropbox in October of 2022 and started putting files
                in it and I just essentially started whatever was in the -- most
                recently, in the beginning of April 2024, I took my documents tab,
                saved them on my laptop and dragged and dropped it over to
                Dropbox.

(TRO Hearing Transcript, ECF No. 28, PageID # 960-62.)

        Haynes also admitted to extracting his passwords and sending them to his personal email

address:

                So I found myself -- I really needed to separate these two. So I went
                into Google Chrome, extracted all the passwords, printed it to Excel
                and sent it to my personal e-mail address, didn't think any of it.

(TRO Hearing Transcript, ECF No. 28, PageID # 963.)

        Thus, the withdrawal of Lanterman’s first declaration has no effect on the Temporary

Restraining Order or Plaintiffs’ case.

        On December 16, 2024, Lanterman executed a second declaration stating that Defendant

Fischer attached a USB drive to his CBIZ-issued laptop on June 2 and 3, 2024. ECF No. 86-60.

According to his Declaration, Lanterman was unable to determine what if anything was

downloaded because he was unable to access Fischer’s USB drive since Fischer claims to have

forgotten the password. This issue never advanced beyond the parties’ supplemental briefing and

did not result in a court order.

        Notwithstanding that Mr. Lanterman truthfully represented his findings in his two

declarations, Plaintiffs believe that withdrawing the declarations is appropriate based on counsel’s

inability to verify the college and graduate credentials of Lanterman. Accordingly, Plaintiffs

respectfully move this Court to permit them to withdraw the declarations of Mark Lanterman.




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                                  Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on April 4, 2025, a copy of Plaintiffs’ Memorandum in Support of Motion to

Withdraw Declarations of Mark Lanterman was electronically filed via the Court’s CM/ECF

system. Notice and a copy of this filing will be sent to counsel of record for all parties via the

Court’s CM/ECF system.

                                                 /s/ Lawrence D. Pollack
                                                 One of the attorneys for Plaintiffs CBIZ, Inc.,
                                                 CBIZ Benefits & Insurance Services, Inc., and
                                                 CBIZ Insurance Services, Inc., and Third-
                                                 Party Defendant Mike Gill.




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